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                                                                                                      FELICIA PITRE
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                                                                                               DALLAS CO., TEXAS
                                                                                                Alicia Mata DEPUTY

                                              DC-21-14426
                                CAUSE N 0.

BRYNHILL INVESTMENTS, LLC,                       §
STONEHILL INVESTMENTS, LLC;                      §            IN THE DISTRICT COURT OF
                                                 §
        Plaintiffs,                              §
                                                 §
v.                                               §            DALLAS COUNTY, TEXAS
                                                 §
NTENT, INC., PATRICK CONDO,                      §
MATTHEW G. JONES;                                §
                                                 §           101 st
        Defendants.                              §                        JUDICIAL DISTRICT

                                     ORIGINAL PETITION

        Brynhill Investments,   LLC (“Brynhill”) and Stonehill Investments, LLC (“Stonehi11,” and

collectively with Brynhill, the “Plaintiffs”) ﬁle this Original Petition against NTENT, Inc.

(“NTENT”), Patrick Condo, NTENT’s Chief Executive Ofﬁcer (“Condo”), and Matthew G. Jones,
NTENT’s Chief Financial Ofﬁcer (“Jones,”             and collectively with   NTENT    and Condo,

“Defendants”) and in support would show as follows:

                                    I.      INTRODUCTION
        1.      Plaintiffs suffered damages as a direct result of fraudulent misrepresentations and

nondisclosures by Defendants related to a $1.5 million investment by Plaintiffs in        NTENT.

Plaintiffs invested in NTENT based on multiple representations by Condo and Jones, NTENT’s

top two executives, that   NTENT     audited its ﬁnancial statements annually and would provide

audited ﬁnancial statements for 2014 and 2015 as soon as those statements were available.

        2.     Unbeknownst to Plaintiffs,    NTENT actually    had no intention of providing any

further audited ﬁnancial statements beyond 2013 and in fact, ultimately, never provided any

audited ﬁnancial statements to Plaintiffs after the ﬁnancials for 2013.




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       3.      Condo and Jones made the misrepresentations and fraudulent nondisclosures

regarding   NTENT’s   audited ﬁnancial statements for the speciﬁc purpose of causing Plaintiffs to

execute two contracts that resulted in a substantial investment in NTENT.

       4.      To the extent Plaintiffs can determine NTENT’s true ﬁnancial condition without

audited ﬁnancial statements,       NTENT is now effectively insolvent   and Plaintiffs’ $1.5 million

investment is worthless.

                             II.      DISCOVERY CONTROL PLAN
       5.      Plaintiffs request that discovery be conducted in accordance with a Level          3


discovery plan pursuant to Rule 190.4 of the Texas Rules of Civil Procedure.

                           III.      RULE 47 DAMAGES STATEMENT
       6.      Plaintiffs seek monetary relief in excess of $1,000,000.00.

                                        IV.    THE PARTIES
       7.      Plaintiff Brynhill Investments, LLC is a Nevada limited liability company with its

principal ofﬁces at 2000 McKinney Avenue, Dallas, Texas 75201.

       8.      Plaintiff Stonehill Investments, LLC is a Nevada limited liability company with its

principal ofﬁces at 2000 McKinney Avenue, Dallas, Texas 75201.

       9.      Defendant NTENT, Inc. is a Delaware corporation with its principal ofﬁces located

at 1919 Gallows Road, Suite 1050, Vienna,      Virginia 22182. NTENT may be served with process

by serving the Texas Secretary of State in accordance with Section 17.044(b) of the Texas Civil

Practice and Remedies Code because        NTENT   does not maintain a regular place of business or

designated agent for service of process in Texas and because this proceeding arises out of business

in Texas as described herein.

       10.     Defendant Patrick C. Condo is the Chief Executive Ofﬁcer and Executive

Chairman of NTENT, and upon information and belief, is a resident of Virginia. Condo’s business

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address is 1919 Gallows Road, Suite 1050, Vienna, Virginia 22182. Condo may be served with

process by serving the Texas Secretary of State in accordance with Section 17.044(b) of the Texas

Civil Practice and Remedies Code because Condo does not maintain a regular place of business or

designated agent for service of process in Texas and because this proceeding arises out of business

in Texas as described herein.

        11.      Defendant Matthew G. Jones is the Chief Financial Ofﬁcer of NTENT, and upon

                                                    J
information and belief, is a resident of Virginia. ones’s business address is 1919 Gallows Road,

Suite 1050, Vienna, Virginia 22182. Jones may be served with process by serving the Texas

Secretary of State in accordance with Section 17.044(b) of the Texas Civil Practice and Remedies

Code because Jones does not maintain a regular place of business or designated agent for service

of process in Texas and because this proceeding arises out of business in Texas as described herein.

                              V.       JURISDICTION AND VENUE
        12.      The damages sought in this case are within the jurisdictional limits of this Court.

        13.      This Court has personal jurisdiction over NTENT because NTENT conducts

business in Texas as described herein including, but not limited to, contracting with Texas

residents Brynhill and Stonehill to invest funds in     NTENT   and committing a tort in whole or in


part in Texas.

        14.      This Court has personal jurisdiction over Condo because Condo, the Chief

Executive Ofﬁcer and Executive Chairman of NTENT, conducts business in Texas as described

herein including, but not limited to, making certain misrepresentations, on behalf of NTENT, to

Texas residents Brynhill and Stonehill in soliciting them to invest ﬁinds in NTENT and committing

a tort in whole or in part in Texas.

        15.      This Court has personal jurisdiction over Jones because Jones, the Chief Financial

Ofﬁcer of NTENT, conducts business in Texas as described herein including, but not limited to,

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making certain misrepresentations, on behalf of NTENT, to Texas residents Brynhill and Stonehill

in soliciting them to invest funds in NTENT and committing a tort in Whole or in part in Texas.

        16.    Venue is proper in Dallas County, Texas pursuant to Section 15.002 of the Texas

Civil Practice & Remedies Code because     a substantial part   of the events or omissions giving rise

to Plaintiffs’ claims occurred here and because Plaintiffs’ respective places   of business are located

here.

                                     VI.    BACKGROUND
A.      Plaintiffs Conduct Due Diligence And Request Audited Financial Statements

        17.    Plaintiffs are both Dallas-based private equity investment companies.

        18.    Plaintiffs ﬁrst learned about a potential investment opportunity in NTENT in 2016

and began performing due diligence on a potential investment in the company.

        19.    Condo, who at the time was the Executive Chairman of NTENT (he later became

NTENT’s CEO      on or about August 7, 2017), and Jones,    NTENT’s CFO, aggressively solicited

Plaintiffs’ investment in NTENT.

        20.    On August 26, 2016, Condo and Jones traveled to Plaintiffs’ ofﬁces in Dallas,

Texas to meet With Plaintiffs’ executives to pitch Plaintiffs on a signiﬁcant investment in NTENT.

        21.    As part of their due diligence, Plaintiffs requested that Condo and Jones provide

NTENT’s audited ﬁnancials for the years 2011     through 2015.

        22.    It was not only the receipt of the audited ﬁnancials for 2011 through 2015 that was

important to Plaintiffs, but the understanding that NTENT would continue the practice      of auditing

its ﬁnancials each year. Audited ﬁnancial statements by a trusted third-party auditor ensure the

material accuracy of ﬁnancial statements and guard against a range of risks from fraud to

identiﬁcation of various irregularities. As Plaintiffs made clear during the due diligence process,

receipt of audited ﬁnancial statements and knowing that         NTENT   had a practice   of having its

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ﬁnancials audited by a third party were signiﬁcant factors in Plaintiffs’ decision to invest in

NTENT.

B.      Defendants Provide Audited Financial Statements For 2011 Through 2013 And
        Represented That 2014 And 2015 Audited Financials Would Be Provided

        23.     On August 27, 2016, Condo emailed Steve Harasym, Plaintiffs’ employee in charge

of due diligence efforts with respect to NTENT, and stated “We are supplying all the information.

I noticed a request for audited ﬁnancials, which we are providing as well as the unaudited

[ﬁnancials] but in process.”

        24.     A few days later, on August 31, 2016 Jones emailed Harasym attaching the audited
ﬁnancial statements for 201 1, 2012, and 2013. In this same email, Jones also stated that NTENT’s

auditor was   RSM McGladrey. Jones, echoing Condo’s       statements from August 27th, stated that

“McGladrey is completing the 2014 and 2015 audit[,] expected completion is early Oct[tober].”

        25.     Condo and Jones made these statements on behalf of         NTENT knowing      and


intending Plaintiffs would rely on them in deciding whether to make a signiﬁcant investment in

NTENT.

C.      Relying On Defendants’ Representations As To Audited Financials, Plaintiffs
        Executed A Purchase Agreement Investing Signiﬁcant Capital In NTENT

        26.     On September   l, 2016, Brynhill and Stonehill each executed a Purchase Agreement
with NTENT. Jones executed both Purchase Agreements on behalf of NTENT.

        27.     Under its Purchase Agreement, Brynhill purchased 41,085 shares of        NTENT

common stock for a total investment   of $1,000,008.90.

        28.     Under its Purchase Agreement, Stonehill purchased 20,542 shares of       NTENT

common stock for a total investment of $499,992.28.

        29.     NTENT realized    a total pecuniary gain   of $1,500,001.18 when the Plaintiffs

executed the respective Purchase Agreements.

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        30.    The representations by Condo and Jones regarding audited ﬁnancials were a

material factor in Plaintiffs’ decision to execute the Purchase Agreements. Plaintiffs would not

have executed the Purchase Agreements       if   Plaintiffs knew Defendants had no intention of

providing audited 2014 and 2015 ﬁnancial statements despite their representations that such

audited ﬁnancial statements were “in process.”

D.      Jones Concedes NTENT Has No Intention Of Providing The Promised Audited
        Financials Or Auditing Its Financials At Any Point Thereafter

        31.    After executing the Purchase Agreements, Plaintiffs made multiple requests to

receive the audited ﬁnancials that Condo and Jones represented to Plaintiffs would be completed.

Each of Plaintiffs’ requests for audited ﬁnancial statements as well as other updates were ignored.

Plaintiffs never received the audited ﬁnancial statements for any year after 2013.

        32.    On October 25, 2018, Condo again traveled to Dallas, Texas to meet with Plaintiffs’

executives about NTENT. At this meeting Condo shared his optimistic outlook for NTENT going

forward, including various products and opportunities that were in the pipeline and forecasting a

potential “10x return” in 2019.

        33.    None of the products or opportunities Condo conﬁdently described ever came to

fruition and there were no returns, 10x or otherwise.

        34.    On November 26, 2019, Plaintiffs’ employee Csongor Bibza made yet another

request through email to Jones for NTENT’s audited ﬁnancial statements for the periods of 2016,

2017 and 2018.

        35.    Jones responded to Bibza’s email on the same day stating “We do not have audited

statements for the periods you mentioned - we are a private company so we haven't completed

audits for those periods.”




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        36.     On both August 27, 2016 and August 31, 2016, Defendants knew, or reasonably

should have known, that they did not intend to complete, or provide to Plaintiffs, audited ﬁnancial

statements for the years 2014 and 2015. Further, on both August 27, 2016 and August 31, 2016,

Defendants knew, or reasonably should have known, they did not intend to continue to have

NTENT’s ﬁnancials audited.

        37.     November 26, 2019 was the ﬁrst time Plaintiffs discovered that NTENT apparently

had no intention of providing audited ﬁnancials for any year after 2013 and that Defendants’

representations made on August 27, 2016 and August 31, 2016 were thus false and misleading.

        38.     Plaintiffs would not have invested in NTENT or executed the Purchase Agreements

if Plaintiffs had known that NTENT was not completing audited ﬁnancials for 2014 and 2015 and
that NTENT, in fact, would discontinue the practice of having its ﬁnancials audited going forward.

E.      Plaintiffs Try To Determine NTENT’s True Financial Condition

        39.     After receiving Jones’s email on November 26, 2019 regarding NTENT’s failure

to complete audited ﬁnancials, Plaintiffs began endeavoring to determine the ﬁnancial condition

of NTENT.

        40.     Throughout early 2020, Brynhill made multiple requests to      NTENT    to receive

ﬁnancial information, but to little avail. On February 24, 2021, Brynhill served NTENT with a

demand for inspection   of NTENT’s books and records pursuant to Delaware law.

        41.     As part of the demand for books and records, Brynhill conﬁrmed that NTENT had

not completed audited ﬁnancials since 2013 and that    NTENT    has no plans to have its ﬁnancial

statements for any year audited.

        42.     As part of the demand for books and records, NTENT provided internal ﬁnancial

reports to Plaintiffs. Review of those reports shows NTENT’s ﬁnancial condition has signiﬁcantly

deteriorated.

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        43.     Based on the internal ﬁnancial reports   NTENT provided, if NTENT were to have

its ﬁnancial statements audited, the auditor would likely opine that        NTENT is insolvent   and


effectively no longer a going concern.

        44.     Further, based on    NTENT’s    internal ﬁnancial reports, the value of    NTENT’s

common stock has greatly decreased and is worth only a small fraction of the $24.34 price per

share the Plaintiffs paid in September 2016,   if it is worth anything.
                                   VII.   CAUSES OF ACTION
A.      Fraudulent Inducement

        45.     Plaintiffs adopt and incorporate herein the allegations set forth above.

        46.     Condo and Jones represented to Plaintiffs that            NTENT’s   audited ﬁnancial

statements were in process, including for 2014 and 2015. Jones went further, specially representing

that the 2014 and 2015 audited ﬁnancial statements would be provided to Plaintiffs by early

October 2016.

        47.                   J
                Condo and ones’s representations regarding completion of            NTENT’s   audited

ﬁnancial statements were material to Plaintiffs’ decision to execute the Purchase Agreements to

invest more than $1.5 million in NTENT. Plaintiffs would not have executed the Purchase

Agreements or invested approximately $1.5 million in NTENT had they known audited ﬁnancial

statements would not be completed or provided for any year after 2013.

        48.     As Jones acknowledged in November 2019, the representations of Condo and Jones

regarding completion of NTENT’s 2014 and 2015 audited ﬁnancial statements were false. NTENT

had no intention   of completing audited ﬁnancial statements for these years, or any year thereafter,

let alone providing such statements to Plaintiffs.

        49.     When Condo and Jones made the representations they knew the representations

were false, or alternatively, made the representations recklessly without knowledge of whether

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NTENT actually intended to complete audited ﬁnancial statements for at least 2014 and 2015       and


provide those audited ﬁnancial statements to Plaintiffs.

        50.    Condo and Jones made the representations with the express intent that Plaintiffs act

on them by executing the Purchase Agreements to inject approximately $1.5 million into NTENT.

        51.    Plaintiffs relied on Condo and Jones’s representations—indeed, Plaintiffs executed

the respective purchase agreements on September      l, 2016, one day after Jones’s misrepresentation

regarding audited ﬁnancial statements.

        52.    Condo and Jones are employees and corporate ofﬁcers of NTENT and at all times

were acting within the course and scope of their duties for     NTENT. Moreover, NTENT was           a

beneﬁciary of Condo and       Jones’s   misrepresentations and Plaintiffs’ resulting $1.5 million

investment.

        5 3.   As a direct result of Condo and Jones’s misrepresentations, Plaintiffs suffered

damages, which based on the current ﬁnancial condition of         NTENT, could    be the entirety   of

Plaintiffs’ $1.5 million investment.

B.      Fraudulent Nondisclosure

        54.    Plaintiffs adopt and incorporate herein the allegations set forth above.

        55.    Defendants concealed from Plaintiffs and failed to disclose in August 2016, during

negotiations related to the Purchase Agreements and Plaintiffs’ investment in          NTENT,    that

NTENT not only did not intend to complete audited ﬁnancial        statements for 2014 and 2015, but

also had no plans to continue the practice of auditing its ﬁnancial statements going forward.

        56.    Defendants had a duty to disclose these facts to Plaintiffs because Plaintiffs

speciﬁcally requested audited ﬁnancial statements for 2014 and 2015 and made clear to

Defendants that Plaintiffs expected Defendants to continue       NTENT’s practice of auditing       its

ﬁnancial statements.   If NTENT   had no intention   of having its ﬁnancial statements audited after
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2013, Defendants had a duty to disclose this fact before Plaintiffs executed the Purchase

Agreements and invested approximately $1.5 million in NTENT.

        5 7.    Condo and Jones’s representations regarding completion of     NTENT’s    audited

ﬁnancial statements were material to Plaintiffs’ decision to execute the Purchase Agreements to

invest more than $1.5 million in NTENT. Plaintiffs would not have executed the Purchase

Agreements or invested approximately $1.5 million in NTENT had they known audited ﬁnancial

statements would not be completed or provided for any year after 2013.

        58.     Defendants knew Plaintiffs were ignorant of whether NTENT was actually having

its ﬁnancial statements audited and did not have an equal opportunity to discover that NTENT was

                                J
not doing so despite Condo and ones’s representations to the contrary.

        59.     Defendants were deliberately silent when they had the duty to disclose that NTENT

had no plans to have its ﬁnancial statements audited and the audited statements provided to

Plaintiffs after 2013.

        60.     Plaintiffs relied on Defendants’ nondisclosure that NTENT had no plans to provide

audited ﬁnancial statements after 2013—indeed Plaintiffs executed the respective purchase

agreements on September 1, 2016, one day after Jones represented that audited ﬁnancial statements

for 2014 and 2015 would be provided by October 2016.

        61.     Condo and Jones are employees and corporate ofﬁcers of NTENT and at all times

were acting within the course and scope of their duties for   NTENT. Moreover, NTENT was        a

beneﬁciary of Condo and Jones’s nondisclosures and representations and Plaintiffs’ $1.5 million

investment.




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         62.    As a direct result of Defendants’ nondisclosure, Plaintiffs suffered damages, which

based on the ﬁnancial condition of      NTENT, could       be the entirety   of Plaintiffs’ $1.5 million

investment.

C.       Statutory Fraud — Tex. Civ. Prac. & Rem. Code § 27.01

         63.    Plaintiffs adopt and incorporate herein the allegations set forth above.

         64.    Condo and Jones represented to Plaintiffs that          NTENT’s       audited ﬁnancial

statements were in process, including for 2014 and 2015. Jones went further, specially representing

that the 2014 and 2015 audited ﬁnancial statements would be provided to Plaintiffs by October

2016.

         65.    Condo and Jones’s representations regarding completion of            NTENT’s    audited

ﬁnancial statements were material to Plaintiffs’ decision to execute the Purchase Agreements to

purchase more than $1.5 million worth of NTENT stock. Plaintiffs would not have executed the

Purchase Agreements or invested approximately $1.5 million in exchange for more than 60,000

shares   of NTENT stock had they known audited ﬁnancial statements would not be completed or

provided for any year after 2013.

         66.    As Jones acknowledged in November 2019, the representations of Condo and Jones

regarding completion of NTENT’s 2014 and 2015 audited ﬁnancial statements was false.           NTENT

had no intention   of completing audited ﬁnancial statements for these years, or any year thereafter,

let alone providing such statements to Plaintiffs.

         67.    Condo and Jones made the representations with the express intent that Plaintiffs act

on them by executing the Purchase Agreements to inject approximately $1.5 million into         NTENT

in exchange for approximately 60,000 shares of NTENT stock.




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        68.    Plaintiffs relied on Condo and Jones’s representations—indeed, Plaintiffs executed

the   respective Purchase Agreements         on   September    l,    2016,   one    day after Jones’s

misrepresentation regarding audited ﬁnancial statements.

        69.    Condo and Jones are employees and corporate ofﬁcers of NTENT and at all times

were acting within the course and scope of their duties for        NTENT. Moreover, NTENT was          a


beneﬁciary of Condo and Jones’s misrepresentations and Plaintiffs’ resulting $1.5 million

investment.

        70.    As a direct result of Condo and Jones’s misrepresentations, Plaintiffs suffered

damages, which based on the current ﬁnancial condition of           NTENT, could     be the entirety   of

Plaintiffs’ $1.5 million investment.

        71.    Plaintiffs also seek recovery of their court costs, attorneys’ fees, and other expenses

as provided by Tex.   Civ. Prac. & Rem. Code Section 27.01(e).

D.      Negligent Misrepresentation

        72.    Plaintiffs adopt and incorporate herein the allegations set forth above.

        73.    Defendants’ representations regarding        NTENT’s 2014           and 2015   ﬁnancial

statements as being in the process   of being audited was false.

        74.    Defendants made these representations in course of their business and in a

transaction in which each Defendant had an interest. NTENT beneﬁtted directly by Plaintiffs’ $1.5

million investment whereas Condo and Jones were ofﬁcers and agents of NTENT when they made

the representations on   NTENT’s     behalf. Each Defendant was also acting in the course of their

business to solicit investors in NTENT when the representations were made.

        75.    Defendants’ statements were made for the guidance of Plaintiffs and for the purpose

of soliciting Plaintiffs’ investment in NTENT.



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         76.   Defendants were reckless and/or failed to exercise reasonable care in obtaining or

communicating information regarding NTENT’s 2014 and 2015 ﬁnancial statements.

         77.   Plaintiffs relied on Defendants’ representations—indeed Plaintiffs executed the

respective Purchase Agreements on September 1, 2016, one day after Jones’s misrepresentation

regarding audited ﬁnancial statements.

         78.   As a direct result of Defendants’ misrepresentations, Plaintiffs suffered damages,

which based on the ﬁnancial condition of NTENT, could be the entirety of Plaintiffs’ $1.5 million

investment.

E.       Unjust Enrichment & Recission
         79.   Plaintiffs adopt and incorporate herein the allegations set forth above.

         80.   Defendants’    fraudulent     misrepresentations   and   nondisclosures     resulted   in

Plaintiffs’ execution of the respective Purchase Agreements and payment of $1.5 million to

NTENT.

         81.   As a result, NTENT and its corporate ofﬁcers Condo and Jones have been unjustly

enriched.

         82.   Plaintiffs have no adequate remedy at law to recover damages.

         83.   Plaintiffs are not in breach of the Purchase Agreements and are prepared to return

to NTENT all shares   of NTENT stock Plaintiffs received under the Purchase Agreements.

                              VIII. CONDITIONS PRECEDENT
         84.   All conditions precedent to Plaintiffs’ claims for relief have been performed or have

occurred, or were otherwise met, waived, or excused.

                                      IX.     JURY DEMAND
         85.   Plaintiffs demand a jury trial for all issues so triable and submits a jury fee herewith.

                                 X.         RELIEF REQUESTED
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      Plaintiffs respectfully request that this Court:

              a.     After trial on the merits, award Plaintiffs judgment against Defendants,
                     jointly and severally, for Plaintiffs’ actual damages suffered as a result of
                      the above-described fraud, including direct, consequential, and exemplary
                      damages;

             b.       alternatively, grant Plaintiffs the remedy of recission of the Purchase
                      Agreements and return of all shares of NTENT stock received by Plaintiffs
                      under the Purchase Agreements;

              c.      award Plaintiffs their attorney fees, pre- and post-judgment interest, and
                      costs of suit; and

              d.      grant Plaintiffs all other relief, at law or equity, to which Plaintiffs may be
                      entitled.




Date: September 28, 2021                             Respectfully submitted,

                                                         /S/ Heather Summerﬁeld
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                                                     INVESTNIENTS, LLC and STONEHILL
                                                     INVESTMENTS, LLC




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